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                  EXHIBIT A
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                      Mr. Irving Paul Lazar
                       211South Beverly Drive
                      Suite 110
                      Beverly Hills, California 90212
                                    Re:   "Lonesome Dove" By            Larry McHurtry
                      Dear Irving:

                          The following (which supersedes my letter to you of
                      February 25, 1985) shall confirm the agreement reached between
                      you, on behalf of Larry HcHurtry ("Author"), and me on on
                      behalf of Motown Productions ("Purchaser") with respect to t he
                      above-referenced novel ("Property") which will be published
                      later this year .

                           1.   (a) Upon Purchaser's receipt of a copy of this
                      letter agreement executed by Author, and executed copies of
                      the documents referred to in Paragraph 1 (b) hereof, Purchaser
                      shall pay Author the SUll or Fifty Thousand Dollars ($50,000)
                      and shall thereupon acquire all or the motion picture, televi-
                      sion, remake and sequel, merchandising, co11111ercial tie-up and
                      other allied rights of every kind and nature exclusively
                      throughout the world in perpetuity (subject to the rights
                      reserved by Author specified in Paragraph 3 below) in and t o
                      the Property, provided that all rights herein granted shall
                      revert to Author if the applicable sum described in Paragraph
                      2(a) belov is not paid to Author on or before twenty-tour ( 24 )
                      months following the date of execution hereor.
                                          (b)   Author shall execute, or cause to be executed, a
                      Short Form A331gnment in the for~ of Exhibit "A" attached
                      hereto, and a Publisher's Release in the form of Exn1bit "B"
                      attached hereto by each publisher of all or any part or ver-
                      sion of the Property permitted hereunder.
                          2.   (a) To prevent the reversion of rights to Author
                      hereunder, Purchaser shall pay Author the additiooal sum of
                      rwo Hundred Thousand Dollars ($~00,000) not later than
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       twenty-four (24) months following the date or execution hereof
       or upon commencement or principal photography or the first
       motion picture or television production ("Picture"), whichever
       shall first occur.
                (b) rr the Picture is intended for initial broadcast
       in the United States as a television motion picture or mini-
       series, and the broadcast length of the Picture exceeds five
       (5) hours in length, Purchaser shall pay Author the additional
       sum of Thirty Thousand Dollars ($30,000) for each hour (pro-
       rated for segments or less than an hour) within ten (10) days
       following the initial broadcast of the Picture.
                (c) If the Picture is intended for initial general
       theatrical release in motion picture theatres in the United
       States, in lieu of any paymen~ under paragraph 2(b) above,
       Purchaser shall pay Author the additional sum of One Hundred
       Thousand Dollars ($100,000) within ten (10) days of such thea-
       trical release in the United States.
                 (d) If the sum due pursuant to Paragraph 2(a) is not
       paid to Author by the applicable date provided herein, all
       rights granted herein shall revert to Author and neither party
       shall have any further obligation to the other (including
       without limitation, the obligation to make any further payment
       whats oever) and. this Agreement and all restrictions contained
       herein shall be or no further force or effect whatsoever
       following the last date referred to upon which Purchaser is
       entitled to make appropriate payment to Author hereunder. rn
       the event or any such reversion, Purchaser shall deliver to
       Author a quitclaim or all rights in and to the Property, but
       no failure to deliver such quitclaim shall affect the rever-
       sion to Author or all rights in and to the Property, and
       Author and Purchaser agree, in such event, to execute,
       aaknowled1• and deliver such documents as either party may
       reasonably require to evidence the cancellation and termina-
       tion or tbis Agreement, and the reversion of all rights in and
        to the Property to Author and the release of Purchaser from
       all obligations to Author under this Agreement.
            3.   Author . hereby reserves the following rights
        ("Reserved Rights") in and to the Property:
                 (a) All publishing rights in and to the Property,
        including without limitation, the right to publish the
        Property in a book or such other written form as Author may
        deem advisable; provided, however, that Purchaser shall have
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    the customary right (for advertising and publicity purposes)
    to broadcast, prepare, publish and copyright publications in
    newspapers, magazines and periodicals of all types, any synop-
    sis, excerpts, summaries, abridged and/or revised versions of
    the Property, resumes and stories (all of which shall collec-
    tively be referred to as "synopses" herein) of the Property,
    or any part thereof, for any motion picture version thereof,
    no one of which, however, shall exceed seven thousand five
    hundred (7,500) words in length, and the rights to use said
    synopses in heralds, programs, booklets, posters, lobby dis-
    plays, pressbooks, trade publications, newspapers, magazines
    and other periodicals, commercial and other tie-ups, and all
    other media of advertising and publicity whatsoever (and to
    copyright said synopses in Purchaser's name in all countries
    of the world), provided, no synopses shall be serialized or
    represented as having been written by Author without Author's
    prior written consent;
             (b) All legitimate, dramatic and musical live stage
    rights. Author agrees not to dispose of, exercise or permit
    the exercise of the reserved stage rights for a period of
    three (3) years from the first general release or initial
    television broadcast of the Picture in the United States or
    five (5) years from the date that payment under Paragraph 2(a)
    hereof may be paid, whichever first occurs;
             (c) All radio rights, subject, however, to
    Purchaser's right to broadcast, transmit and present for
    advertising, promotion and publicity purposes, all or any part
    or the Property, or any adaptation, version, excerpt or sketch
    therefrom or based thereon, and announcements of or concerning
    the Property and/or any motion picture version thereof, by any
    means whatsoever, provided no such radio broadcasts shall
    exceed fifteen (15) ■inutes in duration, nor shall the same be
    serialized. Author agrees not to dispose of, exercise or
    permit tbe exercise or the reserved radio rights for a period
    of five (5) years rollowing the first general release or
    initial television broadcast or the Picture in the United
    States or seven (7) years following the date that payment
    under Paragraph 2(a) hereof may be paid, whichever first
    occurs:
             (d) The exclusive right to produce the Property by
    means or live television with living actors appearing and
    speaking in the immediate presence of the television
    audience. Author agrees not to exercise the reserved live
    television rights for a period or five (5) years following the
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    first general release or initial television broadcast of the
    Picture in the United States or seven (7) years following the
    date that payment under paragraph 2(a) hereof may be paid,
    whichever first occurs. As used herein, live television
    rights shall be limited to a None shotN national network basis
    as a free television special and shall include the right to
    make a recording of such live performance for original broad-
    cast and for broadcasts on a delayed basis (within sixty (60)
    days of the original networ~ broadcast) only.
              (e) If Purchaser shall have commenced principal
    photography of a remake, sequel, television series or other
    television production based upon the Property, then the
    restrictive holdback periods referred to i~ this Paragraph 3
    and Paragraph 10(c) hereof shall be further extended until the
    expiration of three (3) years (in the case of Paragraph 3(b}
    hereof) or five (5) years (in the other cases} following the
    initial general release or broadcast in the United States or
    such remake, sequel, the last episode of a television series
    or other television production. Any disposition of the
    Reserved Rights shall be subject to Paragraph 10 hereof.
             (f} Author's reserved rights relate only to the
    Property and not to any screenplay, teleplay, music, lyrics,
    sequels or other material written, created or com.missioned by
    Purchaser, everi though the same contains characters and other
    elements of the Property.
        4.   If Purchaser shall produce the Picture based upon the
    Property hereunder, Purchaser shall pay Author an amount equal
    to 5S of 100j of the net profits derived from the Picture. If
    the Picture is intended for initial general theatrical release
    in motion picture theatres in the United States, Nnet profits"
    will be defined, co■ puted, acc~unted for and paid in accor-
    dance witb the definition of such net profits in Purchaser's
    agreement with the third party (NFinancier") financing the
    production and/or distribution of the Picture. If, however,
    the Picture is intended ror initial television broadcast in
    the United States, "net profits" shall be defined, computed,
    accounted ror and paid in accordance with Exhibit NCN attached
    hereto and by this reference made a part hereof.
         5.    If Purchaser shall produce a theatrical motion
     picture which constitutes a remake of the Picture, Purchaser
     shall pay Author the sum of One Hundred Sixteen Thousand Six
     Hundr ed Sixty-Seven Dollars ($116,667), such sum to be paid
     within thirty (30) days following commencement of principal
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     photography of each such remake, plus an amount equal to 1.66S
     of 1001 of the net profits derived from each such remake.
         6.    If Purchaser shall produce a theatrical motion pic-
     ture which constitutes a sequel to the Picture, Purchaser
     shall pay Author the sum of One Hundred Seventy-Five Thousand
     Dollars ($175,000), such sum to be paid within thirty (30)
     days following commencement or principal photography or each
     such sequel, plus an amount equal to 2-1/2S or 100S of the net
     profits derived from each such sequel.
         7.   If Purchaser shall produce a television motion pic-
     ture or mini-series based upon (and subsequent to) the Picture
     and the Property, and a leading character therein is a char-
     acter taken from the Property, Purchaser shall pay Author the
     sum of Fifteen Thousand Dollars ($15,000) per hour (prorated
     for segments of less than one (1) hour) or such television
     programming, plus an amount equal to 2-1/2S or 100J of the net
     profits derived form each such motion picture or mini-series.
         a. If Purchaser shall produce a television series
     ("Series") based upon the Picture and the Property, and a
     leading character therein is a character taken from the
     Property, Purchaser shall pay Author a royalty per each new
     Series program produced:
                         Thirty (30) Minutes         $1,000
                         Sixty ( 60) Minutes         $1 , 500
                         Ninety (90) Minutes         $2,000

          The applicable sum shall be paid within thirty (30) days
     following the initial telecast of each such Series prog~am.
         9.   Purchaser shall accord Author credit on positive
     prints or the Picture, and in all paid advertising relating
     primarilJ to the Picture issued by or under the direct control
     of Purchaser wherever the screenwriter(s) credit appears (3ub-
     ject to customary exclusions and exceptions) on a separate
     card in the main titles, in a size, type and style not less
     than the size used to display the credit given to the screen-
     writer(s) on the Picture, substantially as follows:
              (a) If the Picture has the same title as the
     Property, such credit shall read: "Based Upon The Novel By
     Larry HcHurtry".
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              (b) If the Picture does not have the same title as
     the Property, such credit shall read: "Based Upon The Novel
     'Lonesome Dove' By Larry HcHurtry."
     Subject to the foregoing, Purchaser shall determine, in its
     sole discretion, the manner, form, size, style, nature and
     placement of any credits and no casual or inadvertent failure
     of Purchaser to comply with the provisions hereor with respect
     to credit shall constitute a breach or this Agreement by
     Purchaser. Purchaser shall use its reasonable efforts to cure
     prospectively any such failures promptly following notice from
     Author it such failures are reasonably capable or being so
     cured.
        10 .  If Author shall create or desire to create or cause
     to be created or written a sequel literary work or any other
     material (an "author-written sequel" hereunder) based in whole
     or in part upon the Property (all rights other than the motion
     picture, television, and allied right• in and to the charac-
     ters contained in the Property and publishing rights in said
     author- written sequel being hereinafter referred to as
     "Sequel Rights~ for purposes or this Paragraph 10) and/or if
     at any time during which Author is permitted to do so under
     the provisions of this Paragraph 10, Author shall elect to
     exercise, sell, license, exploit, or otherwise dispose of any
     of the Reserved Rights (which will exclude publishing rights
     other than the limited rights referred to in· the proviso of
     Paragraph 3(a) hereof tor purposes of this Paragraph 10) or
     Sequel Rights, Author agrees that it shall not so exercise,
     sell, license, exploit and/or dispose or any such Reserved
     Rights or Sequel Rights without first complying with the fol-
     lowing rights:
               (a) It Author desires to exercise, sell, license
     and/or exploit any or the Reserved Rights or Sequel Rights,
     Author sball first give Purchaser notice thereof and Author
     and Purobaser shall thereupon negotiate in good faith for the
     purpose of reaching an agreement whereby Purchaser would
     undertake such exercise and/or exploitation; if Purchaser and
     Author shall fail to reach an agree~ent within thirty (30)
     days following any such notice, Author shall have no further
     obligation to Purchaser with respect to the particular rights
     which were the subject of such negotiations, provided that
     Author shall comply with the other provisions of this
     Paragraph 10.
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              (b) If Author and Purchaser shall fail to reach an
    agreement within said thirty (30) day period as aforesaid
    thereafter Author may deal with third parties provided th~t
    Author shall not exercise, sell, license, exploit or otherwise
    dispose of any Reserved Rights or Sequel Rights or accept any
    bona fide offer which Author has received for any such rights
    on terms less favorable to Author (and, therefore, more favor -
    able to Purchaser) than those last rejected by Purchaser
    during the negotiation referred to in Paragraph 10(a) above.
    If Author wishes to accept an offer that would be on terms
    less favorable to Author than those last rejected by Purchaser
    during such negotiations, Author shall so notify Purchaser and
    Purchaser shall have the right to purchase and acquire any
    such rights upon the same terms and conditions as set forth in
    such notice; the terms and conditions which Purchaser shall be
    obligated to accept in order to exercise such right of first
    refusal shall not include terms and conditions specified in
    said notice which cannot be met as easily by one person as by
    another, such as required employment or use of a certain
    writer, director, star, etc. At any time within thirty (30)
     business days after receipt of such notice, Purchaser may
     notify Author that Purchaser wishes to acquire any such rights
     upon the terms and conditions so specified, and Author shall
     grant such rights to Purchaser upon said terms and condi-
     tions. If Purchaser fails to so notify Author, Author shall
     again be free to dispose of any such rights to any third
     party, in a bona fide, arms-length transaction, but only upon
     terms previously specified in Author's notice to Purchaser or
     upon terms more favorable to Author (and, therefore, less
     favorable to Purchaser) than those specified in said notice,
     it being understood and agreed that such right may not be
     offered or disposed of by Author or any third party on any
     ~ore favorable terms and conditions (to Purchaser) than pre-
     viously so specified in Author's said notice, without Author
     first ottering sucn rights to Purchaser as hereinabove
      provided.
               (c) Inasmuch as all of the ~otion picture. televi-
      sion and allied rights in and to the characters contained in
      the Property are exclusively granted to Purchaser hereunder,
      Author shall not grant to any third party any such rights in
      connection with any permitted disposition of any author-
      written sequel. Author shall not ~ake or permit any disposi-
      tion or exploitation of any other ~otion picture, television
      or allied rights in any author-written sequel to any person,
      firm or corpora~ion other than Purchaser until after a period
      of three (3) years from the date of the first general release
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    of the Picture in the United States, or five (5) years fro~
    the last date by which Purchaser must make the payment speci-
    fied in Paragraph 2(a) hereof, whichever first occurs. After
    the foregoing holdback periods, Author shall not dispose of
    any such motion picture, television and allied rights in more
    than one author- written sequel in any respective one (1) year
    period (such one (1) year periods to begin on the date or
    and/or each subsequent anniversary ot the expiration or the
    applicable holdback period).
        11.  Author represents, warrants and agrees: that he is the
    sole author of the Property and is the sole and exclusive
    owner of all rights (including without limitation the copy-
    right) in· and to the Property throughout the world herein
    granted to Purchaser, and Author has not heretofore sold,
    assigned, transferred, licensed, granted or otherwise disposed
    of, nor will Author hereafter sell, assign, transfer, license,
    grant, encumber, or dispose of, the rights herein granted to
    Purchaser; that Author has the sole right, power and authority
    to make and enter into this Agreement and to convey the rights
    herein granted without restriction or limitation; that the
    Property is wholly original with Author and is not and will
    not be taken from, adapted or copied, in whole or in part,
    from any other literary works; that as to living people iden-
    tifiable in the Property, Author has acquired written permis-
    sions and releases, permitting the use of said person's name,
    likeness, and life story in connection with the rights granted
    hereunder and Author hereby assigns such rights to Purchaser;
    that neither the Property nor any part thereof infringes or
    will infringe upon, nor will the full use by Purchaser of all
    rights acquired hereunder infringe upon or violate in any way
    the copyright, common law right, or any other rights of any
    person, fir ■ or corporation, nor does or will the Property, or
    any part thereof, violate any right or privacy or right of
    publicity or constitute a libel or defamation or otherwi!e
    violate or infringe upon any other right or any person, firm
    or corporation. Author shall indemnify Purchaser with respect
     to any breach or any representation, warranty or agreement
    made by Author herein.

         12.         Notwithstanding anything contained herein to the
     contrary, without limiting any other rights Purchaser may have
     at law, in equity or hereunder, Author agrees that if there is
     any clai~ and/or litigation which it proven to be true, would
     involve a breach of any of the representations, warranties and
     agreements made by Author hereunder, and the same would mate-
     rially limit any of the rights acquired by Purchaser here-
     under, the last date by which Purchaser must make the payment
                                                - -- -------
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    required by Paragraph 2{a) hereof shall be automatically
    extended until no claim and/or litigation involving any breach
    or alleged breach of any such representation, warranty or
    agreement or Author is outstanding. If such claim and/or
    litigation shall not be dismissed within sixty (60) days after
    Purchaser or Author have notice thereof or shall result in a
    settlement or a judgment in favor ot any third party claimant,
    Purchaser may, in addition to any other rights or remedies it
    may have at law, in equity or hereunder, rescind this Agree-
    ment in which event, notwithstanding anything contained herein
    to the contrary, Author shall thereupon repay to Purchaser all
    monies theretofore paid by Purchaser to or on behalf of Author
    hereunder. Purchaser and Author shall consult with one
    another regarding the settlement of any such claim, but
    Purchaser's decision regarding the same shall be final and
    binding upon Author.
       13.   In the event that Purchaser is materially hampered in
    preparing or producing the Picture by reason ot any law, ordi-
    nance, regulation, order, judgement or decree, acts of God,
    earthquake, flood fire, catastrophe or shortage of materials,
    or labor disturbance {including, without limitation, if the
    Writers Guild of America should strike or withhold its members
    services), the last date by which Purchaser must make the
    payment require~ by Paragraph 2(a) hereof shall be automati-
    cally extended by a number of days equal to the total duration
    of sucn event.
        14.   All notices and payments to Author hereunder shall be sent
     to him in care of you at the above address and receipt by you
     of such payments shall be good and valid discharge of all such
     indebtedness; Author hereby irrevocably authorizes and directs
     you to deduct an amount equal t9 ten percent (lOS) of all such
     sums as your coaaaission for acting as Author's agent here-
     under. ADJ notices to Purchaser shall be sent to it at Motown
     Productions, 6255 Sunset Boulevard, Los Angeles, California
     90028, Attention: Joan Whitehead Evans, Esq. with a copy to me
     at the aboye address. All notices shall be sufficiently given
     when the same shall be deposited so addressed, postage pre-
     paid, return receipt requested, in the United States ~ail, or
     by personal delivery or upon the sending of a cable or tele-
     gram, prepaid and addressed as aforesaid.
        15.   The parties contemplate execution of a more formal
     agree~ent incorporating the foregoing and such other terms
     (which shall include provisions relating to rights, warran-
     ties, indemnities, name and likeness, no rescission or injunc-
     tive relief for Author, default, force majeure, etc.), which
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     are customary in literary acquisition agreements 1n the motion
     picture industry . Unless and until such formal agreement is
     executed, however, this letter shall be a binding agreement
     between the parties and may not be modified except by a writ-
     ten instrument signed by both parties .
          If the foregoing is acceptable to you and your client,
     please have a copy of this letter signed and returned to me
     for- signature on behalf or Motown Productions.

                                        Si~ouro,


                                        ALAN J. LEVINE

     AGREED TO AND ACCEPTED:
     PURCHASER:




      Date or Execution:
      LAJ04L
      cc:       Suzanne de Passe
                Suzane Coston
                Michael Weisbarth
                Joan Whitehead Evans, Esq .
                Elliot Chaum, Esq .
                Michael Black
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                                EXHIBIT "A"
                          SHORT FORM ASSIGNMENT

        KNOW ALL MEN BY THESE PRESENTS: that in consideration of
    the paymen~ of One ~ollar ($~.00) and other good and valuable
    cons1d 7rat1on, receipt of which is hereby acknowledged, the
    und~rs1gned Larry McMurtry ("Author") hereby sells, grants,
    ass19ns and sets ov!r unto ~otown Productions ("Purchaser"),
    and its representatives, heirs, successors and assigns in
    perpetuity and throughout the world, the sole and exclusive
    motion picture rights, television motion picture, and certain
    other television and radio rights and certain allied and
    incidental rights including limited publication radio and
    television rights for advertising and exploitation purposes,
    in and to the literary, dramatic and/or musical writings and
    materials ("Property") described as follows:
    Title:         "Lonesome Dove"
    Author:        Larry McMurtry
    Date and Place of Publication:
    Name of Publisher:
    Copyright Date and Registration:
    Name of Copyright Registrant:
    including all plots, themes, title or titles, dialogue, lan-
    guage, incidents, action, story, characters and copyrights
    thereof and all renewals and extensions of such copyright, and
    any translations, novelizations, dramatizations, sequels,
    remakes and other adaptations or versions thereof, now made or
    hereafter created, made or permitted to be made by the
    Author. This assignment is of all rights acquired, pursuant
    to a certain Agreement dated as of March 18, 198S, between the
    parties hereto and is limited by and subject to all of the
    terms and conditions of said Agreement.
        Author shall obtain or cause to be obtained renewals of
    all United States copyrights in and to the Property, whether
    or not referred to herein, and shall assign said rights under
    said renewal copyrights to Purchaser without further consider-
    ation. Purchaser is also hereby empowered to bring, prose-
    cute, defend and appear in suits, actions and proceedings of
    any nature under or concerning all copyrights in and to the



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    Property and all renewals thereof, or concerning any infringe-
    ment of any such copyright or renewal copyright, or interfer-
    ence with any of the rights hereby granted to Purchaser under
    said copyrights or renewals thereof, in its own name or in the
    name of the ~opyright proprietor, but at the expense of
    P~rchaser, ~nd at its option, Purchaser may join such copy-
    right proprietor and/or Author as a party in such suit, action
    or proceeding; any recovery therefrom is hereby assigned to
    Purchaser.

        Author hereby assigns to Purchaser all documents hereto-
    Eore or hereafter executed in favor of Author by any third
    party insofar as such documents affect or pertain to any of
    the rights herein granted to Purchaser.
         IN WITNESS WHEREOF::'@ undersign~has e1ecuted this
    assignment as of .j: 2,'-~   day of -.\ll,d...--t-A-◄"'-'=vr/bal~----
    1985.                                                 ~

                                       AUTHOR:




    STATE OF CALIFORNIA
                                       ss.
    COUNTY OF LOS ANGELES

        On this_..,....._ day of-,-----,:--:~.---,--:---.,.' 19 , before
    me, the unders1gned, a Notary Public in and for said State,
    personally appeared LARRY MCMURTRY, known to me, or proved to
    me on the basis of satisfactory evidence, to be the person who
    executed the within instrument, and acknowledged to me that he
    duly executed the same.
         WITNESS my hand and official seal.



                                       Notary Public in and for said
                                              County and State


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                                EXHIBIT "8"
                           PUBLISHER'S RELEASE

       KNOW ALL MEN BY THESE PRESENTS: That in consideration of
   the payment of One Dollar ($1.00) and other good and valuable
   consideration, receipt of which is hereby acknowledged the
   undersigned Larry McMurtry, hereby acknowledges and ag;ees,
   for the express benefit of Motown Productions and his or its
   heirs, representatives, successors and assigns forever, that
   the undersigned has no claim to or interest in the worldwide
   motion picture rights (silent, sound, talking), television
   rights, radio broadcasting rights or any other rights of any
   other kind other than publication rights heretofore granted to
   the undersigned, in or to that certain literary work published
   by the undersigned and described as follows:
   Title:   "Lonesome Dove"
   Written By:    Larry McMurtry
   Date and Place of Publication:
   Copyright Registration:
       The undersigned hereby consents to the publication and
   copyright by and/or in the name of said author, his or heir
   heirs, representatives, licensees and assigns, in any and all
   languages, in any and all countries of the world, and in any
   form or media, of synopses, abridged versions, serializations
   and/or novelizations, not exceeding seven thousand five
   hundred (7,500) words in length each, of the said literary
   work and/or any motion picture, television or other version
   thereof based in whole or in part upon the said literary work,
   for the purpose of advertising, publicizing and/or exploiting
   any such motion picture, television or other versions.
        IN WITNESS WHEREOF, the undersigned has executed this
   instrument this ____ __ day of
   19



                                   By
                                   Its




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   STATE OF
                                 ss.
   COUNTY OF

       On this-...-- day of -----=:--e-e-..---.---""T' 19 , before
   me, the undersigned, a Notary Public in and forsaTd State,
   personally appeared
   known to me, or proved to me on the basis of satisfactory
   evidence, to be the--..,....--,---.-~ of
   and acknowledged to me that he duly executed th@ same for and
   on behalf of said corporation.
       WITNESS my hand and official seal.



                                   Notary Public in and for said
                                          County and State




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                                   Exhibit "C"

                                   NET PROFITS


            Part of Agreement ("Principal Agreement") dated March 18, 1985,
   between Motown Productions ("Producer") and Larry McMurtry ("Participant"}
   relating to the television program presently entitled "Lonesome Dove"      '
   ("Program"). To the extent Participant is entitled to any portion or "Net
   Profits" from the Program pursuant to the Principal Agreement, said Net
   Profits shall be defined, computed, accounted for and paid in accordance
   with this Exhibit.
       I.   General Computation.
            "Net Profits" means "Gross Receipts," as defined in Article II,
   less the following, deducted in the following sequence:
            A.   "Distribution Fees" as defined in Article III;

            B.   "Distribution Expenses" ~s defined in Article IV;

            C. "Production Cost" as defined in Article V, with interest on
   the unrecouped portion thereof at two percent (2j) per annum above tbe
   prime rate charged from time to time by Producer's bank ; interest shall be
   deducted before principal; provided, however, if such interest rate
   exceeds the maximum lawful rate of interest which may be charged by
   Producer, then such interest shall be reduced to the maximum lawful rate;
   and

            D. All contingent deferments , debts, and recoupments and other
   contingent amounts not included in Production Cost, other than net profit
   participations payable to third parties.
      II.   Gross Receipts.
            A. "Gross Receipts" means all cash received (in U.S. dollars in
   the United States) by Producer for the right to cause the exhibition of
   the Program in substantially complete form to an audience in any medium,
   such as television, CATV, or theatrical or non-theatrical direct projec-
   tion, any reissue of the Program, any foreign language or dubbed version
   thereof, net recoveries of Producer from infringement of copyright of the
   Program, and the amounts referred to in Article II.D and E. Gross
   Receipts shall not include the following:
                1. The receipts of any theatre or other user (including , but
   not limited to, radio or television broadcasters, cable and closed circuit
   producers and distributors, book or music publishers, phonograph record
   producers or distributors, and merchandisers, manufacturers and the like}
   of the Program or any rights connected therewith;
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                2. Any revenue from any theatrical or television remake of
   or sequel to, or any ser1es based upon, the ~rogram, or the sale, transfer
   or assignment of all or any part of Producers right to produce and/or
   exploit the Sa.Jlle;

                _3. Any monies received from trailers, lithographs, lobby
   displays, sl1des and advertising accessories prepared and distributed in
   connection with the Program;

                 U. Any revenue from the exploitation of any music in the
    Program or any music publishing, commercial tie-ups, endorsements or mer-
    chandising rights thereof except to the extent provided in Article II.D
    and E;

                 5. Such monies derived from the distribution of the Program
    as are contributed to charity; and

                 6. Any monies received for the use or disposition of any
    portion of the Program as stock footage, cut-outs, trims, tracks, back-
    grounds, sound effects, props, costumes, stock shots or other properties,
    or monies held as deposits that are ~ubject to refunds.

             8. If the Program is distributed in whole or in part by an
    Outside Distributor, Gross Receipts from such distribution shall be cash
    received by Producer from such Outside Distributor after all charges,
    fees, costs, participations in net or gross receipts or other contingent
    payments, and all other deductions which have been made pursuant to
    Producer's agreement with · each such Outside Distributor; provided,
    however, that to the extent any such items are deducted from Gross
    Receipts, pursuant to this Article II.B they shall not again be deducted
    as a Distribution Expense pursuant to Article IV.

             C. Cash received by an Outside Distributor is deemed Gross
    Receipts when Producer receives the Outside Distributor's report of the
    computation of the portion of such cash to which Producer is entitled and
    payment of such portion (or when Producer receives such Outside
    Distributor's report showing that, after the deductions and any set-offs
    made by the Outside Distributor on the report, Producer is not entitled to
    pay~ent of any portion of such cash). No advance or security deposit paid
    to Producer by any Outside Distributor shall constitute Gross Receipts;
    but the Gross Receipts that are shown on any report received by Producer
    from an Outside Distributor on which all or any part of such advance or
    security deposit is set off against the payment otherwise due to Producer
    pursuant to such report, shall be deemed received when Producer receives
    such report . Gross Receipts are subject to adjustments for refunds,
    rebates, credits, settlements, and discounts. If any SUID that is owed by
    a Distributor to a licensee in connection with the exhibition of the
    Program, such as a cooperative advertising allowance, shall be set off by
    the licensee from the amount owed for the right to cause such exhibition,
    the Gross Receipts shall be augmented by such sum. "Distributor" means
    any distributor of the Program, including Producer if and to the extent
    Producer does its own licensing and distributing. "Outside Distributor"



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  means any Distributor other than Producer or any other entity owned or
  controlled by, owning or controlling, or under common ownership or control
  with, Producer.

           D. With regard to music publishing receipts, Producer will
  include in Gross Receipts a sum equal to fifty percent (SOi) of the
  "publisher's net share '' of all mechanical reproduction and performing fee.s
  received (in U.S. dollars in the United State.s) by a music publisher which
  is owned or controlled by Producer with respect to music and! or lyrics
  written specifically for and synchronized with the Program, and as to
  which such publisher is vested with all publi.shing rights. The
  "publisher's net share" of mechanical reproduction fees shall be the full
  amount paid by the licensee, less any portion thereof paid to any third
  party who may share in such publisher's receipts, and less composer's
  royalties, and les.s charges of any agent, trustee or administrator acting
  for the publisher and/or others in the collection of such fees, in the
  amount of fifteen percent ( 15J) thereof, if any; or, if the publisher
  shall administer the collection of such fees itself, a charge therefor not
  to exceed fifteen percent ( 15J) of such fees. "Mechanical reproduction"
  fees do not include synchronization license fees for use of the music by
  Producer, but do include sychronization fees received from unrelated third
  parties. The ''publisher's share" of performing fees shall be the net·
  amount actually received by the publisher from any performing r ight.s
  society in respect of the mu.sic involved; or, if Producer or the publisher
  shall admini.ster the collection of all or any part of performance fees,
  the full amount of all performance fee.s collected, less composer's share
  and reasonable costs and expenses in administering the collection of such
  fee.s. If the publishing rights are vested in any unrelated third party,
  and if a portion of mechanical reproduction or performing fees is paid by
  such third party to Producer, then all of such portion paid to Producer
  shall be included i~ Gross Receipts.
            E. With regard to records embodying all or a portion of the
   sound track of the Program, and with regard to exploitation of merchan-
   dising and publishing rights in the Program, Producer shall be entitled to
   license such rights in accordance with Producer's usual and customary
   terms to any third party whatsoever, including without limitation to a
   company owned or controlled by Producer. The monies received by such
   licensee shall not be included in Gross Receipts, but all sums from said
   licenses actually received by Producer shall be included in Gross
   Receipts, unless Participant separately shares in such sums pursuant to
   the Principal Agreement or otherwise.
     III.   Distribution Fees.

            A. "Distribution Fees" shall mean any and all sums which are
   actually paid by and/or charged to Producer by Distributor as a distr~bu-
   tion or similar fee on account of the distribution of the Program, wh1ch,
   if Producer is the Distributor, shall be the following percentage.s of
   Gross Receipts:




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                 t. ien percent ( lOj) for the initial national network free
    television sale of the Program (including reruns accomplished as a part of
    such sale) if the initial use of the Program is on nat1onal network free
    television in the United States in pr1me time (out of wh1ch Producer shall
    bear any agency packaging commission payable on account of such sale);

                 2. Twenty-Five percent (25J) for any national network free
    television sale in the United States not specified above;

                 3. Forty percent (401) for any free television sale in the
    United States other than on a national network;

                 4. Twenty-Five percent (25J) for the initial free television
    sale to a Canadian network (i.e., CTV, CBC or Global), including reruns
    accomplished as part of such sale;

                 5 . forty percent (40j) for any free television sale outside
    the United States;

                 6. Forty percent (40j) for any theatrical or non-theatrical
    direct projection sale;

                7. Fifteen percent (15J) for any outright sale or license of
   distribution rights to an Outside Distributor for a flat sum where such
   Distributor is not obligated to account to Producer;

                 8.   Fifty percent (501) for any sale not specified above.
            B. "Sale" means any sale, license or grant of rights. In the
   event that any distribution agreement between a Producer and a Distributor
   provides that said Distributor shall retain a percentage of the Gross
   Receipts without any allocation of the portion of the Gross Receipts
   retained by the Distributor between distri~ution fees and other items,
   including, without limitation, distribution expenses, recoupment of non-
   returnable advances previously applied by the Producer to the Prograt:t and
   said Distributor's profits, if any (sometimes referred to in the theatri-
   cal motion picture industry as a "gross deal"), then the entire percenta~e
   of the Gross Receipts so retained by said Distributor shall be deemed to
   be the distribution fee payable to said Distributor and there shall be no
   separate deduction hereunder for said Distributor's distribution expenses,
   except to the extent, 1r any, that such expenses are charged against a
   portion or Gross Receipts payable to the Producer pursuant to said distri-
   bution agr....nt.
       IV.   Distribution Expenses .

            A. "Distribution Expenses" means all costs and expenses incurred
   and payments made by Producer and any Outside Distributor(s) in connection
   with the sale, lease, license, distribution, exhibition or other disposi•
   tion of the .Program or any subsidiary rights therein, in all media,
   including but not limited to:




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                t. Any re-run, use, royalty, or other payment with respect
   to any person or any right, and any payroll tax or union fringe benefit
   payment in connection therewith;

        _       2, Any cost in connection with the preparation, making,
   dupltcation, editing, cutting, dubbing, subtitling, possession, packing,
   inspection, repair, storage, protection, and shipment (such as to or from
   any laboratory, Distributor, or licensee, including the payment of any
   laboratory, Distributor, or licensee, including the payment of any
   customs, fees, taxes, or imposts in connection therewith) of any negative
   or positive film materials, audio or video tape, st1ll photograph, script,
   continuity sheet, or cue sheet, including but not limited to costs of
   facilities, laboratory work, raw film or raw audio or video tape stock,
   reels, containers, and other materials or services;

                3. Any advertising, publicity, or promotion cost or expense
   (whether in the form of col!'IDissions, allowances, percentages, percentage
   of gross receipts or the like), any agency fee or co11111ission;
                ~- Any share of Cross R~ceipts (whether before or after
   breakeven) or similar payments payable to any third .party in excess of the
   amount thereof which is included as a Production Cost hereunder;
                5. Any tax, tariff or fees levied upon, payable with respect
   to, or arising in connection with the exploitation, use, distribution,
   revenues, or materials of the Program, includin~ but not limited to sales,
   gross receipts, turnover, withholding, remittance, excise, use, and per-
   sonal property or similar taxes, but excluding any net income, corporate ,
   franchise, or excess profits tax;
                6. Any cost of converting, transmitting, or remitting cur-
   rency; any cost of eollecting money from, checking the receipts or costs
   of, or auditing any Distributor or licensee;
                7. Any litigation or other cost in connection with any claim
   brought by or against Producer, Participant, and/or any Distributor or
   licensee (including but not limited to any amount paid on any Judgment or
   settlement);
                 8. Any a110unt charged to-Producer by any Outside Distributor
    (except the applicable Distribution fee specified in Article III):
                 9. Any government fee or the cost of any government license
    or permit, includin1 but not limited to those required for import, export,
    licensing, exhibition, or censorship, or the cost of contesting any of the
    same or any other regulatlon or law affecting the Program;
                 10. Any cost of obtaining, maintaining, protecting, or regi-
    stering any intangible rights, including but not limited to copyr1ghts,
    titles, trademarks and trade names, in connection with the Program or any
    element thereof;



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               lT,  Any cost of protecting the Program physically or from
   legal encwnbrance, by security measures, legal action, or otherwise;

               12. Any legal and accounting fees or court costs in con-
   nection with this Article IV;

               13. Any cost of insurance, including but not limited to
   errors and omissions, negative, print, liability or other insurance
   covering physical materials;

               1~.  A fee of fifty Thousand Dollars (t50,000) ror Producer in
   connection with the preparation of any theatrical version of the Program;

               15, Trade association dues and assessments, and support pay-
   ments to industry academies or institutions; and
               16. All similar or dissimilar expenses of every kin1 and
   nature incurred by or for the account of Producer or any Distrioutor in
   connection with the sale, licensing, exhibition, distribution, advertising
   and exploitation of the Program and any rights therein.

            Producer shall have the right to set up reserves in an amount
   estimated by Producer to be sufficient to cover any Distribution Expenses.

            B. No sum excluded from Gross Receipts sr.all be included as a
   Distribution Expense, and no SWII included as a Distribution Fee sh.all be
   included as a Distribution Expense.

       V.   Production Cost.

            A. "Production Cost" means all costs and expenses incurred in
   connection with "Production" (which is deemed to mean the development,
   preproduction, production, and postproduction of the Program) calculated
   according to generally accepted accounting principles in the television
   industry, i nc l uding without limitation:
                  1.  Any cost or a type listed in Article IV if incurred in
   connection with Production rather than distribution (it being understood
   that any particular item included in Production Cost may not also be a
   Distr i bution Expense);

                 2. Any cost for the right to use or purchase facilities,
   equ i pment, mater-ials, or personnel (''above the line," below the line," or
   other) intended to be used in connection with Production i ncluding, but
   not limited to, performers, writers, directors, and producers;

                   3. Any cost of writing, or of rights to acquire or use
   underly i ng l iterary, artistic, musical, intellectual property, materials
   or other rights, intended to be used in connection with the Program;
                 4.   Any financing costs and charges (other than interest};




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     .             5. A production fee for the Program, which shall be deemed a
   direct cost included as an item of Production Cost in an~- t
   "ri f ty Thousand Dollars ($50,000) per hour;       •       -•~Un equal to

                6'. Any cost of cast insurance, negative insurance, or insur-
   ance covering personal injury or property damage, and any cost of title or
   copyright search or registration;

                7. Cost of production audito: and accounting fees, and any
   cost of legal services required 1n connection with Production;

                8. Any contingent deferred amount paid or payable for the
   fair value of rights and/or services rendered in Production, whether as a
   flat amount or a participation in or percentage of Gross Receipts {whether
   before or after so-called "break evenn and whether such ~break even" is
   actual or fictitious), or similar payments;

                9 . If the aggregate of all other items of Production Cost
   (excluding any item of Production Cost that was not budgeted out that was
   either covered by insurance or caused by an event of force maJeure) shall
   exceed the budget of the Program by more than five percent (5S) then, an
   amount equal to the excess shall be deemed an additional direct cost
   included as an item of Production Cost; and

               10. Any overhead costs and/or fees paid or incurred by or charged
   to Producer by an Outside Distributor and an overhead cost equal to
   fifteen percent ( 1SS) of all other items of Production Cost.

            B. Any item may be included in Production Cost when the obli-
   gation to pay is noncontingent, even if payment has not yet been made. If
   Producer furnishes any of its own facilities, equipment, materials, or
   services in connection with Production for which Producer has a standard
   rate or a reasonable ''loanout fee" or such sum as Producer would otherwlse
   have paid to a third party, the amount of such standard rate, loanout fee,
   or the amount that otherwise would have been paid to such third party
   shall be deemed a direct cost included as an item of Production Cost. If
   a person regularly employed by Producer shall be assigned to render ser-
   vices on the Program, the standard rate or loanout fee shall be such
   reasonable portion of such person's salary as Producer may allocate to the
   Production Cost.
      VI.   Statements and Payments.

            "Accounting period" means each calendar year or other annual
   period that Producer may from time to time elect. Within ninety (90) days
   after the end of each accounting period, Participant shall be sent a
   statement showing the computation of Net Profits for such accounting
   period and Participant shall be paid his or its share of such Net Profits,
   if any. No statement need be sent for any accounting period in which
   there are no Gross Receipts . All expenses, such as Distribution Expenses
   and Items of Production Cost, incurred in any accounting period that are
   not recovered from Gross Receipts for the same accounting period may be


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   carried forward or backward to any other accounting period. Any with-
   holdi~g or ~eduction required by law may be made. Any item in an Outside
   D1str1butor s statement that ts acceptable to Producer in its business
   Judgment is deemed acc!p·table to Participant. A reasonable sum may be
   retained from Het Profits of one or more accounting periods to establish a
   reserve for uncomputed retroactive charges, residuals and for deferred
   items of costs: Losses_ incurred with respect to one accounting period may
   be applied against prof1ts derived from any preceding or subsequent
   accounting.

     VII.     Conclusiveness of Statements.

            Producer shall keep all of its books and records directly
   relating to this Exhibit in accordance with accepted accounting prin-
   ciples. Participant may, at Producer's offices and at reasonable times
   within regular business hours, but not more than once per calendar year,
   have a certified public accountant familiar with accounting procedures in
   the television industry, inspect and make copies of any such books and
   records not previously inspected (to the extent the information contained
   therein has not become incontestable pursuant to this Article VII}, all at
   Participant's expense. Each such inspection shall be completed within
   thirty (30} consecutive days. Producer's methods of treating any amount
   referred to in this Exhibit for Producer's tax or financial purposes will
   have no bearing on the computation of Net Profits. Each statement her!-
   under shall be deemed conclusive unless Partlclpant shall object thereto
   to Producer in writing within eighteen (18) months after receipt thereof
   and shall state in detail in such writing the basls for the objection.
   Participant shall be barred from bringing any legal proceeding on the
   subject matter of such objections later than twelve (12) months after
   making such objections.
    VI I I.   Foreign CU'T'rency.

             If any foreign government shall block the conversion or transmit-
   tal of currency to be included in Gross Receipts, if Participant so
   requests in writing, Producer shall (if permitted by applicable laws,
   rules and regulations) pay Participant his or its share of Net Profits
   applicable thereto by depositing the same in Participant's name and at
   Participant's expense with such foreign depository as Producer shall
   determine . If Prodcer shall make any such deposit, Participant shall pay
   all costs and expenses in connection therewith.

       IX.    Relationship of Parties.
             A. Producer shall not be deemed a fiduciary, partner, or Joint
   venturer   orParticipant. Participant has no legal or beneficial ownership
   interest in the Program, but only the contingent right to payment speci-
   fied herein. Any pledge, hypothecation, mortgage, or other encumbrance of
   the Program or any element thereof, or anything created pursuant to the
   rights therein, or any assignment, sale or transfer of rights herein,
   purported to be made by Participant, shall be void; provided , however,
   that after the completion of Participant's performance under this


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    Agreement any assignment'. sale, ~r transfer of Participant's right to
    rece~v• payment under this Exhibit shall be valid if it shall be made
    specifically subject to Producer's rights herein; and provided further
    that in each instance in which Participant shall wish to make any such
    assignment, saJ.e, or transfer, in whole or in part, to any third party
    other than by gift or bequest, Participant shall first make a written '
    offer to Producer, that by its own terms shall be irrevocable for at least
    thirty (30) days from Producer's receipt thereof, to make such assignment
    sale, or transfer to Producer on the same terms and condltions on which '
    such assignment, sale or transfer would be made to such third party.
    Participant waives any right to bring suit against ?rodueer or any
    Distributor with respect to any matter in connection with this Agreement
    for relief oth~r than money damages.

             B. As between Participant and Producer, Producer shall have sole
    discretion: to make a fair allocation of any amount that is relevant
    under this Exhibit (such as Cross Receipts, a Distribution Expense. or 3n
    item of Production Cost) from any larger sum in which it is included; to
    determine whether to l.ncur· any Distribution Expense or item of Production
    Cost, when. it is incurred, and how it is computed; to determine when the
    conversion and/or transmittal of currency shall occur and the exchange
    rate at which such conversion shall occur; to determine what ite~
    included in Production Cost shall be considered direct costs as distin-
    guished from overhead; to determine all teriu of each agreement, if any,
    for the distribution of the Program, or the exploitation of subsidiary
    rights, including but not limited to all terms affecting time, place,
    medium, frequency ot use, and payment; to settle any claim with respect to
    any such agreement or with res~ct to the Program; to retain reasonable
    portions of Net Profits as reserves for contingent, uncomputed, or retro-
    active debts; and to comingle funds applicable to payments hereunder with
    other funds owned or held by Producer. Producer makes no representation
    or warranty with re-spect to Producer's efforts in connection with the
    distribution of the Program or exploitation of subsidiary rights or that
    such distribution or exploitation will result in any minimum a.mount of
    Gross Receipts or Net Profits.

        X.   Disposition of Rights.

             A. Notwitstanding anything to the contrary and in addition to
    Producer's other rights, contained in this Exhibit, Producer shall have
    the sole richt and discretion to sell or otherwise dispose of any or all
    of its right. to the Program to any person, firm or corporation. In the
    event that Producer elects to sell or otherwise dispose of the Program or
    any interest therein or any right or rights therein or thereto granted by
    the ter~ or the Principal Agreement, such sale or disposition shall be
    made either (i) "subject to the rights of Participant,n or (ii) including
    any or all rights of Participant under the Agreement and this Exhibit," as
    those terms are hereinafter defined;
                 1. A sale "subject to the rights of Participant~ shall be
    deemed to have been accomplished by Producer if the purchaser or assignee
    of the Program or any interest therein or of any rights granted pursuant



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    to the Principal Agreement _asswnes the executory obligation of Producer to
    Participant hereunder arising from the future exploitation, exhibition,
    and turning to account or the Program or any interest therein or any
    rights unde~ the Pr~ncipal Agreement, to the same extent and ln the same
    manner as Producer is then obligated to Participant pursuant to the
    Agreement and this Exhibit. Upon the assumption of such obligations by
    such purchaser or assignee, Producer shall be released from and of any
    further obligations to Participant with respect to the payment or any
    share of ~et Profits provided to be paid to Participant pursuant to the
    Principal Agreement or this Exhibit (such applicable share being herein-
    after referred to as "participation") to the extent such participation is
    measured by receipts in the hands of such purchaser or assignee. If
    Producer makes any sale or assignment subject to the rights of
    Participant, then the purchase price or other consideration received by
    Producer from such purchaser or assignee shall not be included in com-
    puting Gross Receipts as hereinabove defined and shall be retained solely
    by Producer, and such sale shall be deemed a novatlon.

                 2. Au.le "including any or all rights of Participant under the
    Principal Agreement and this Exhibit" shall be dee~ed accomplished upon
    any sale or assignment of the Program or any rights therein or any rights
    under the Principal Agreement if Producer makes such sale or assignment
    without obtaining an agreement by the purchaser or assignee to assume
    Producer's executory obligations to Participant hereunder. In such event,
    Participant shall not be entitled to receive any participation based upon
    gross receipts in the hands or such purchaser or assignee, and all rights
    of Participant to any participation shall be deemed extinguished and ter-
    minated by such sale, subject, of course, to the accounting for and pay-
    ment of any participation of Participant based on Gross Receipts derived
    by Producer from the exploitation and turning to account of the Program
    and the rights therein prior to such sale or assignment. rr Producer
    makes such sale or assignment including any or all rights of Participant
    under the Principal Agreement and this Exhibit then its gross receipts
    derived from such sale or assignment, after deducting therefrom all
    expenses, costs, fees and c01111issions incurred in connection therewith,
    shall be added to the Gross Receipts for the purpose of accounting for
    Participant's participation hereunder.
             B. If any sale or assignment pursuant to the foregoing provi-
    sions of this Article does not include'all rights in the Program or all
    rights obtained by Producer under the terms of the Principal Agreement,
    then Producer shall continue to be obligated to account to Participant
    hereunder wtth respect to any rights it retains in the Program or obtained
    under the Aareement. to the same extent and with the same effect as it
    would have been obligated to account for Participant's participation based
    upon such retained rights ln accordance with the terms of the Principal
    Agreement and this Exhibit.




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